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     1                       UNITED STATES DISTRICT COURT

     2           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3              HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,            )
                                              )
     6                     Plaintiff,         )
                                              )                Case No.
     7        vs.                             )            CR 17-00697 SJO
                                              )
     8   DANIEL FLINT,                        )
                                              )
     9                     Defendant.         )
         ____________________________________ )
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   13                          REPORTER'S TRANSCRIPT OF
                                    STATUS CONFERENCE
   14                            THURSDAY, JUNE 21, 2018
                                        10:01 A.M.
   15                           LOS ANGELES, CALIFORNIA

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   22        ________________________________________________________

   23               CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                          FEDERAL OFFICIAL COURT REPORTER
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                        LOS ANGELES, CALIFORNIA 90012-4565
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                             UNITED STATES DISTRICT COURT
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                                                                                2


     1                           APPEARANCES OF COUNSEL:

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     3   FOR THE PLAINTIFF:

     4       NICOLA T. HANNA
             United States Attorney
     5       BY: CATHERINE AHN
                  Assistant United States Attorney
     6       United States Courthouse
             312 North Spring Street
     7       Los Angeles, California 90012

     8   FOR THE DEFENDANT:

     9       HILARY LEE POTASHNER
             Federal Public Defender
   10        BY: CRAIG A. HARBAUGH
                  Deputy Federal Public Defender
   11        Central District of California
             321 East Second Street
   12        Los Angeles, California 90012

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     1            LOS ANGELES, CALIFORNIA; THURSDAY, JUNE 21, 2018

     2                                   10:01 A.M.

     3                                      --oOo--

     4                 THE COURTROOM DEPUTY:      Calling Item No. 1:

     5   Case number CR 17-00697 SJO; United States of America versus

     6   Daniel Flint.

     7         Counsel, please state your appearances.

     8                 MS. AHN:     Good morning, Your Honor.     Catherine Ahn

     9   on behalf of the United States.

   10                  MR. HARBAUGH:     Good morning, Your Honor.     Craig

   11    Harbaugh on behalf of Daniel Flint.          A waiver of his presence

   12    was previously filed.       He is in North Carolina and will be

   13    available by phone if the Court would like to speak with him.

   14                  THE COURT:    Yes.    So the matter is here for a status

   15    conference.    The Court placed it on today's calendar for

   16    purposes of making sure that the date selected by the parties

   17    for trial is a firm date and the parties are ready to proceed

   18    on that date.

   19          The indictment was filed on 11/7/2017.          The defendant

   20    first appeared in October of 2017.           The Court set the first

   21    trial date for January 9th, 2018, second trial date for June

   22    19th, 2018, and then there was, I think, a third trial date of

   23    July 10th, 2018, and the parties have requested an August date.

   24          Is that correct?

   25                  MS. AHN:     Yes, Your Honor.




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     1                 MR. HARBAUGH:     Yes, Your Honor, and that is firm.

     2                 THE COURT:    So let me make sure that that date is --

     3   works with the Court's calendar.       The proposed date is the 28th

     4   of August.

     5                 MS. AHN:     Yes, Your Honor.

     6                 MR. HARBAUGH:     Yes, Your Honor.

     7                 THE COURTROOM DEPUTY:    Give me one second.

     8           (Discussion off the record.)

     9                 THE COURT:    It looks like I'm not available on that

   10    date.

   11                  MR. HARBAUGH:     Your Honor, I think we could do the

   12    week prior.

   13                  MS. AHN:     That would be fine with the Government,

   14    Your Honor.

   15                  THE COURT:    And how does that look?

   16            (Discussion off the record.)

   17                  THE COURTROOM DEPUTY:    We have two civil matters, so

   18    it doesn't take priority.

   19                  THE COURT:    How long will the trial take?

   20                  MR. HARBAUGH:     Your Honor, much, I believe, depends

   21    on the in limine motion.

   22                  MS. AHN:     At this point the Government's estimating

   23    about two to three days, Your Honor, probably closer to two.

   24                  MR. HARBAUGH:     Your Honor --

   25                  THE COURT:    Mr. Harbaugh?




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     1                MR. HARBAUGH:    I think probably, yeah, the outer

     2   limit of three days.

     3                THE COURT:    I guess the concern I have, I'm going to

     4   be out that Monday and --

     5           Is it Monday and Tuesday?

     6                THE COURTROOM DEPUTY:     Yes, Your Honor.

     7                THE COURT:    That Monday and Tuesday.      If the jury is

     8   in deliberation for whatever reason, I will not be around.

     9                MR. HARBAUGH:    Understood, Your Honor.      We could --

   10    let me just confer really briefly with the Government about

   11    potential September dates.

   12                 THE COURT:    Yeah, we can go into the following -- I

   13    think probably the following week.        Let me see if we have that

   14    available.

   15                 THE COURTROOM DEPUTY:     I'm looking right now.      Give

   16    me a moment, Your Honor.

   17                 MR. HARBAUGH:    Your Honor, if the Court is amenable,

   18    conceivably we can start after the Court returns on the 29th or

   19    30th.    We are fine with starting later, but I don't know if the

   20    Court --

   21                 THE COURT:    What do we have?

   22                 THE COURTROOM DEPUTY:     So, actually, on the 28th you

   23    have that Intrinsic -- I don't know if that's a big case or

   24    not.    Maybe I'm thinking of Immunex.

   25                 MR. HARBAUGH:    Or September 11th would work, too,




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                                                                                6


     1   Your Honor.

     2                 MS. AHN:     Yes, Your Honor.

     3                 THE COURTROOM DEPUTY:    The one I was talking about

     4   is just a copyright case.

     5                 THE COURT:    Okay.   Does September 11th work?

     6                 THE COURTROOM DEPUTY:    September 11th, give me a

     7   sec.

     8           You have three civil trials scheduled.

     9                 THE COURT:    As long as I don't have another

   10    criminal.

   11                  THE COURTROOM DEPUTY:    You do not have another

   12    criminal.

   13                  THE COURT:    Okay.   The matter will be tentatively

   14    set for September 11th, 2018.

   15            The Court is going to require the parties to file an

   16    additional stipulation to continue with the appropriate waivers

   17    included, and then executed and signed by the defendant.

   18                  MR. HARBAUGH:     Of course, Your Honor.

   19                  MS. AHN:     Of course, Your Honor.

   20                  THE COURT:    So just for the record, the trial date

   21    of the -- let's see, of the 28th will be continued to September

   22    11th.

   23                  MS. AHN:     Your Honor, I believe currently the trial

   24    date is July 10th.

   25                  THE COURT:    I'm sorry, the trial date of July 10th




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     1   will be continued to September 11th.

     2                MS. AHN:     Thank you, Your Honor.

     3                THE COURT:    Assuming the defendant executes a proper

     4   waiver.

     5                MR. HARBAUGH:     Your Honor, we will do that

     6   immediately.

     7                THE COURT:    All right.    Thank you.

     8                MR. HARBAUGH:     Thank you, Your Honor.

     9                MS. AHN:     Thank you, Your Honor.

   10                   (Proceedings concluded at 10:06 a.m.)

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     1                     CERTIFICATE OF OFFICIAL REPORTER

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     3   COUNTY OF LOS ANGELES      )
                                    )
     4   STATE OF CALIFORNIA        )

     5

     6                I, CAROL JEAN ZURBORG, Federal Official Realtime

     7   Court Reporter, in and for the United States District Court for

     8   the Central District of California, do hereby certify that

     9   pursuant to Section 753, Title 28, United States Code that the

   10    foregoing is a true and correct transcript of the

   11    stenographically reported proceedings held in the

   12    above-entitled matter and that the transcript page format is in

   13    conformance with the regulations of the judicial conference of

   14    the United States.

   15

   16    Date:   October 29, 2018

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   19                                    /s/ CAROL JEAN ZURBORG

   20                        CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                                   Federal Official Court Reporter
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                             UNITED STATES DISTRICT COURT
